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                                                   EXHIBIT 12
   Case 1:16-cv-01000-RJJ-RSK ECF No. 1-12, PageID.209 Filed 08/10/16 Page 2 of 13


                                                                                                              Brian D. Wassom
HONIGMAN
                                                                                                                 (248) 566-8490
Honigman Miller Schwartz and Cohn LLP                                                                       Fax: (248) 566-8491
Attorneys and Counselors                                                                                   bdw@honigman.com




                                                                                                 Via FedEx and Email

                                                   November 21,2014
       Rove Concepts
       2318 Oak Street
       Vancouver, BC V6H 4J1
       Canada
       info@roveconcepts.com

       Re: Infringement of Herman Miller's EAMES® Trademark and Trade Dresses

       To the Person of Highest Authority:

              I write to follow up on the letters we sent you on August 19, 2013 and January 15, 2014,
       as well as the several email exchanges and telephone conversations I have had with your
       company and your then-attorneys since that time.

               As you know, we represent Herman Miller, Inc. ("Herman Miller"), which owns
       incontestable trademark rights in the EAMES® name, the configuration of the EAMES®
       Lounge Chair and Ottoman, and the design of the EAMES® Aluminum Group™ and EAMES®
       Soft Pad™ furniture, as well as the publicity rights to the name and likeness of Charles and Ray
       Eames as used in connection with furniture. In each of our communications, we have insisted
       that you stop advertising and selling these products, and stop using these marks and likenesses.
       On several occasions, you have agreed to comply with these demands, but have failed to follow
       through on your commitments. As of today, you continue to advertise each of these products for
       sale, and continue to use the EAMES® marks and likenesses.

               Considering the number of direct, written conversations we have had on this topic, it is
       inconceivable that you are not completely aware that your actions are violating Herman Miller's
       legal rights. As you may know, although the consequences of trademark infringement are already
       severe, federal and state law provide additional remedies for willful infringement, including
       tripled monetary damages and reimbursement of Herman Miller's legal fees.

                Nevertheless, in the highly unlikely event that you somehow still do not understand what
       you must do in order to stop infringing Herman Miller's legal rights, I provide the following
       instructions again, based on the appearance of your various websites as of today. These
       instructions are not necessarily comprehensive, because we cannot know whether we have yet
       located every instance of infringement in each of your marketing channels. This will, however,
       illustrate several examples of your continuing infringements.

                     The EAMES® Lounge Chair and Ottoman. You are advertising (and even
       promoting a sale on) this item. You must stop advertising and selling this product, as it is a direct
       knock-off and infringement of Herman Miller's registered trade dress. Examples can be found at
       the following URLs:

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                  http://roveconcepts.com

                  http://wvvw.roveconcepts.com/rove-loLinge-chair-ottoman.html

                  https://twitter.com/roveconcepts

                  https://plus.google.com/+Roveconceptsmodern/posts

                  https://wvvw.facebook.com/roveconceptsmodern

                  http://instagram.eom/p/flSP-3 izAF/?modal=true

                  http://vvww.houzz.com/projects/125977/eaines-style-loiinge-chair-and-ottoman-by-rove-
                  concepts

                  https://vvww.youtube.com/vvatch?v=LH_Mi7r5_2o

                  https://vvww.youtube.com/vvatch?v=s_AJ8XFZSCvv

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                                                                 Rove Concepts Intro
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               It appears that you have recently taken to calling this chair the "Rove Concepts Lounge
      Chair and Ottoman," even advertising it as such in the publication "Glitter Guide." 1 That does
      nothing to avoid Herman Miller's rights in the design of the chair itself, and only aggravates the
      likelihood that consumers will be confused as to the source of the design. Notably, however, you
      still refer to the same chair using the EAMES® name on Instagram, Houzz. and YouTube, and
      the metadata on the page at http://www.roveconcepts.com/rove-lounge-chair-ottoman.html still
      contains the title "Eames Lounge Chair | Reproduction" and refers repeatedly to the EAMES®
      brand name:


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      1   http://theglitterguide.com/2014/10/30/interiordesign/

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                     The EAMES® Soft Pad™ and Aluminum GroupTM Chairs. You must stop
      advertising and selling these items as well, as they are also direct knock-offs and infringements
      of Herman Miller's registered trade dress. Examples can be found at the following URLs:

                  http;/Avww.roveconcepts.com/eames-charics-and-ray_eames-style-aluminum-group-side-
                  chair.html

                  http://www.roveconcepts.com/eames-charles-and-ray_eames-soft-pad-executive-
                  chair.html

                  http://www.roveconcepts.com/eames-charles-and-ray_eames-soft-pad-management-
                  chair.html

                  http://www.roveconcepts.com/eames-charles-and-ray_eames-aluminum-group-
                  management-chair.html

                  https://www.pinterest.com/pin/337840409519361787/

                  https://www.youtube.com/watch?v=0bCGyrWV7T4

                  https://www.youtube.com/watch?v=4JG9MUQ56jw



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                              Eames office chair - Buying Guide




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                                       WHY ROVE?

                                       EAMES OFFICE CHAIR
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                           Eames Office Chair Series by Rove Concepts
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                                   EAMES SOFT PAD SERIES




                         Eames office chair - Buying Guide



                    The EAMES® mark. Your uses of the trademark EAMES® are demonstrated
      throughout the foregoing excerpts, and most likely in several other places as well. Because
      Herman Miller owns trademark rights to this word in connection with furniture, your use of the

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      word in your furniture-related business necessarily infringes our client's rights. Your use of the
      word must end.

                    The Likenesses of Charles and Rav Eames. You continue to display pictures of,
      and make reference to, the late designers Charles and Ray Eames for the purpose of promoting
      your furniture business. This infringes the publicity rights in the Barneses' identity that are
      owned by Herman Miller. Examples can be found on at least the following sites:

                   http://www.roveconcepts.com/designer_charles-and-ray.html

                   https://www.youtube.com/watch?v=s_Aj8XFZSCw

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                                                                                   CHARLES AND RAY




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                                 Rove Concepts Intro
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              Curiously, in response to our earlier demands, you dropped the "Eames" surname from
      the Barneses' biography on your website, and now refer to them simply as "Charles and Ray."
      This transparent attempt to skirt liability while continuing to display the Eameses' likeness and
      accomplishments fails. The right of publicity is not limited to an individual's last name, but
      rather protects the commercial value of an individual's likeness, which you are clearly
      continuing to exploit.

              Herman Miller cannot abide your continued infringement of its valuable intellectual
      property rights. It has been exceptionally patient by continuing to negotiate this matter with you,
      but that patience cannot continue indefinitely. We request your response to this letter within 15
      days of its date.

                                                                            Regards,

                                                                            HONIGMAN MILLER SCHWARTZ AND COHN LLP




                                                                            Brian D. Wassom

      Enclosures
      cc: Herman Miller, Inc.




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